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                    6    PRAXAIR, INC.
                    7
                   8                            UNITED STATES DISTRICT COURT
                   9                          CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11
                         AARON HUITZIL, an individual ,     Case No. 2:19-CV-8221
                 12
                                        Plaintiff,
                13                                          DECLARATION OF KRISTIN
                               V.                           MIRANDA IN SUPPORT OF
                14                                          DEFENDANT PRAXAIR, INC.'S
                         PRAXAIR, INC., a Delaware          SECOND REMOVAL OF CIVIL
                15       corporation; ALBERTO CASTRO;       ACTION TO FEDERAL COURT
                         an mdividual; and DOES 1through
                 16      100, inclusive,                    Complaint Filed: January 28, 2019
                                                            Amended Complaint filed: June 6, 2019
                 17                     Defendants.         Trial Date:      NIA
                                                            (Case No. 19LBCV00059)
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                         DECLARATION OF KRISTIN MJRANDA ISO DEFENDANT PRAXAIR. INC. 'S SECOND REMOVAL
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                       1                       DECLARATION OF KRISTIN MIRANDA
                   2               I, KRISTIN MIRANDA, hereby declare as follows:
                   3               1.   I have personal knowledge of the facts set forth in this declaration, or I
                   4       have knowledge of such facts based on my review and knowledge of the business
                   5       records and files of Defendant Praxair, Inc. ("Praxair"), and could testify to the same
                   6       if called as a witness in this matter. I make this Declaration in support of Defendants'
                   7       Notice of Removal of Civil Action pursuant to 28 U.S.C. sections 1332, 1441 and
                   8       1446.
                   9               2.   I am currently the Human Resources Associate Director for Praxair
                 10        Distribution, Inc. ("PDI"), which is a wholly-owned subsidiary of Praxair. I was
                11         initially hired by PDI in 2009, but left PDI in 2014. In April 2017, I was rehired by
                12         PDI.     In my current position with PDI, I am responsible for providing human
                13         resources support to PDI's facilities in California. I am readily familiar with PDI's
                14         day-to-day business operations and have access to information and reports maintained
                15         and generated in the ordinary course of business concerning its respective employees
                16         and operations.
                17                 3.   Praxair is corporation duly organized and validly existing under and
                18         pursuant to the laws of the state of Delaware. Praxair's corporate headquarters and its
                19         corporate offices are located in Danbury, Connecticut, and it is where its executive
                20         officers direct, control and coordinate the corporation's activities and executive
                21         functions. These activities include but are not limited to making decisions regarding
                22         corporate policy, the leasing of real estate, legal decisions, significant decisions
                23         regarding contracts and other purchasing, public affairs, payroll, revenue
                24         management, advertising and marketing. Praxair is not a state, state official, or other
                25         governmental entity.
                26                 4.   Plaintiffs employer was PDI, a wholly-owned subsidiary of Praxair, and
                27         a separate employer. PDI was incorporated in the state of Delaware. PDI's corporate
                28         headquarters and its corporate offices are located in Danbury, Connecticut, and it is
LITTLER MENDELSON, P.C.                                             2.
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                Case 2:19-cv-08221-RGK-JC Document 5 Filed 09/23/19 Page 3 of 3 Page ID #:544




                     1    where its executive officers direct, control and coordinate the corporation's activities
                     2    and executive functions. These activities include but are not limited to making
                     3    decisions regarding corporate policy, the leasing of real estate, legal decisions,
                     4    significant decisions regarding contracts and other purchasing, public affairs, payroll,
                     5    revenue management, advertising and marketing. PDI is not a state, state official, or
                     6    other governmental entity.
                     7          5.     Based upon my review of the personnel records of Plaintiff, which have
                     8    been maintained in the ordinary course of business by PDI, I am informed and believe,
                     9    and on that basis state, that PDI employed Plaintiff as a general laborer/machine
                  10      operator from approximately November 24, 2015 through his separation, dated August
                  11      31,2018.
                  12            6.     Based upon my review of the personnel records of Plaintiff, which have
                  13      been maintained in the ordinary course of business by PDI, I am informed and believe,
                  14      and on that basis state, that as of the date on which Plaintiff last actively worked at
                  15      PDI, his hourly rate was $14.60. Based upon a 40 hour per week work schedule, his
                  16      salary equals an annual income of approximately $30,000.00.
                 17             I declare under penalty of perjury under the laws of the United States of
                  18      America and the State of California that the foregoing is true and correct.
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        213 .. 34300      DECLARATION OF KRISTIN MIRANDA ISO DEFENDANT PRAXAIR, INC. 'S SECOND REMOVAL
